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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI- )
LEVEL PAP, AND MECHANICAL               )   Master Docket: Misc. No. 21-1230
VENTILATOR PRODUCTS                     )
LITIGATION,                             )   MDL No. 3014
                                        )
This Document Relates to:               )
                                        )
Consolidated Second Amended Class       )
Action Complaint for Medical Monitoring )
(ECF 815)                               )




       PLAINTIFFS’ RESPONSE TO PHILIPS RS NORTH AMERICA LLC’S
          OBJECTIONS TO THE SPECIAL MASTER’S REPORT AND
       RECOMMENDATION ON THE MOTION TO DISMISS THE SECOND
           AMENDED COMPLAINT FOR MEDICAL MONITORING
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I.      INTRODUCTION

        On October 26, 2023, Philips1 filed its Objections to the Special Master’s Report and

Recommendation (“Report” or “R&R”) (ECF 2273) on the Motion to Dismiss the Second

Amended Complaint for Medical Monitoring. See ECF 2316 (“Objections” or “Obj.”). Defendants

raise overarching issues and make three specific substantive objections. These Objections should

be overruled.

        First, Philips objects that there is a disconnect between the recommendations set forth at

the end of the Report and the legal conclusions contained therein (Objection I). Obj. at 1-2.

Specifically, Philips objects to the recommendations with respect to Count IV of the Complaint

and to the failure to mention claims Philips characterizes as “abandoned.” Id. While Plaintiffs do

agree that the statements in the recommendation with respect to Count IV create some confusion,

Philips takes its position too far.

        Plaintiffs seek medical monitoring in every jurisdiction either as an independent cause of

action or as a remedy for other underlying torts. Count IV is a claim for relief in the 11 jurisdictions

that have already recognized or clearly would recognize an independent cause of action for

medical monitoring (as opposed to a remedy) without proof of present physical injury.2 Philips


1
  Defendant Philips RS North America LLC (“Philips RS”) moved to dismiss Plaintiffs’ Second
Amended Class Action Complaint for Medical Monitoring (ECF 1351) (“Motion to Dismiss”).
“Br.” refers to its Opening Brief in Support of the Motion to Dismiss (ECF 1352). Defendants
Koninklijke Philips N.V., Philips North America LLC, Philips Holding USA Inc., and Philips RS
North America Holding Corporation joined in the arguments made by Philips RS in its Motion
(see ECF 1359 at 4 n.3). The Philips Defendants are referred to collectively herein as “Philips.”
The Consolidated Second Amended Class Action Complaint for Medical Monitoring (ECF 815)
is referred to herein as “Complaint” or “Medical Monitoring Complaint.” Paragraph citations (“¶”)
refer to the Complaint.
2
 Count IV asserted claims in 11 jurisdictions: Colorado, Connecticut, Delaware, District of
Columbia, Florida, Massachusetts, Montana, New Hampshire, Pennsylvania, Utah, and West
Virginia. Plaintiffs withdraw the pleading of an independent cause of action in Delaware and New

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concedes several of these jurisdictions recognize medical monitoring as an independent cause of

action but argues for dismissal on other grounds. These jurisdictions are set apart in Count IV but

the remaining Counts seek medical monitoring as a remedy for underlying torts in all

jurisdictions. As a result, the Report’s ultimate recommendation that ties dismissal of medical

monitoring claims in any jurisdiction beyond the 11 discussed above to Count IV is not correct.

         Second, although most of the briefing on Philips’ Motion to Dismiss related to issues

specific to medical monitoring, Philips incorporated into its Brief substantive arguments it made

in support of its Motion to Dismiss the Master Personal Injury Complaint3 with respect to specific

causes of action. Br. at 7-8. Philips’ second objection (Objection II) is that the Report does not

discuss certain substantive claims that were addressed in its favor in the Special Master’s Report

and Recommendation on Philips’ Motion to Dismiss the Master Personal Injury Complaint (ECF

2271) (the “Master Personal Injury Report” or “Master PI R&R”). Obj. at 2. As set forth below,

this objection is premature because Plaintiffs have filed objections and a motion to clarify with

respect to the Personal Injury Report.4

         Third, Philips makes three specific objections that it claims are “legal errors”: (1) an

erroneous Erie analysis with respect to Tennessee law (Objection III); (2) a failure to recommend

dismissal of Plaintiffs’ claim for declaratory judgment (Objection IV); and (3) a failure to

recommend dismissal of Plaintiffs’ claims under certain states’ product liability acts. Obj. at 2-3

(Objection V). None of these objections has merit.




Hampshire because of recent decisions in those states although they continue to pursue medical
monitoring as a remedy for Plaintiffs from those states under Pennsylvania law.
3
 “Master Personal Injury Complaint” refers to the Amended Master Long Form Complaint for
Personal Injuries and Damages, and Demand for Jury Trial (ECF 834).
4
    See ECF 2312 (“Motion to Modify”); ECF 2313 (“Plaintiffs’ PI Objections” or “Pls. PI Obj.”).

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        Erie analysis. Philips repeatedly misstates Third Circuit Erie jurisprudence to advance the

argument that, absent an explicit decision by a state’s highest court on a particular issue, this Court

is required to opt for the interpretation of state law that most severely restricts liability. That is not

the law. Erie requires the Court to examine relevant authorities to predict how a state’s highest

court would resolve the issue, and Third Circuit precedent makes clear that this Court should not

opt for the most restrictive interpretation of state law when relevant authorities show that the state’s

highest court would adopt a different interpretation.

        This flawed argument underpins Philips’ support for the Special Master’s conclusion that

27 jurisdictions (the “Disputed Jurisdictions”)5 should be dismissed. As explained in Plaintiffs’

Objections to the Report, the Special Master erred in applying a blanket presumption that all

Disputed Jurisdictions would require some quantum of injury above and beyond the injury

Plaintiffs have explicitly pleaded. First, the Special Master erred in finding that pecuniary injury

was insufficient to trigger medical monitoring as a remedy in most jurisdictions. Second, where

the Special Master determined that physical injury was required, he erred in finding that allegations

of subcellular harm like those made by Plaintiffs here were insufficient to satisfy that physical

injury requirement. Indeed, the Special Master largely ignored these allegations which have been

found sufficient in numerous jurisdictions. The Report’s conclusions are contradicted by ample

caselaw in each of the Disputed Jurisdictions, which weighs heavily in favor of a ruling that



5
  The 27 Disputed Jurisdictions are: Arizona, Arkansas, Colorado, Connecticut, Georgia, Hawaii,
Idaho, Illinois, Indiana, Iowa, Kansas, Maine, Minnesota, Montana, Nebraska, New Jersey, New
Mexico, New York, Ohio, Oklahoma, Oregon, Puerto Rico, Rhode Island, South Carolina, Texas,
Virginia, and Washington. Report at 7-8. Plaintiffs do not challenge the recommendation for
Delaware, North Carolina and New Hampshire. See Plaintiffs’ Objections to the R&R (ECF 2314)
(“Plaintiffs’ Objections” or “Pls. Obj.”), at 1-2 & n.2 (discussing North Carolina and New
Hampshire law). Plaintiffs still seek medical monitoring as a remedy under Pennsylvania law for
Plaintiffs residing in those states. See Section II.A, infra.

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Plaintiffs’ allegations of injury are sufficient to sustain their claims for medical monitoring

damages in these jurisdictions.

       Defendants’ specific argument regarding Tennessee law is illustrative. The Report relies on

Sutton v. St. Jude Med. S.C., Inc., which held that the increased risk of disease requiring current

medical monitoring constitutes a concrete present injury sufficient to confer standing and noted

that Tennessee likely would recognize claims for medical monitoring without physical injury. 419

F.3d 568, 575 & n.7 (6th Cir. 2005) (citing and explaining Tennessee state court precedent

supporting its conclusion). Nevertheless, Philips insists that, absent an explicit Tennessee Supreme

Court decision on this precise issue, this Court must reject (1) the holding of the Sixth Circuit, (2)

the state court cases upon which Sutton relies, and (3) other Tennessee Supreme Court decisions

supporting Plaintiffs’ position. That skewed approach does not accurately reflect the Court’s duties

and obligations in conducting an Erie analysis.

       Declaratory Judgment. Philips incorrectly asserts that Plaintiffs’ claim for declaratory

relief must be dismissed because Plaintiffs seek to recover for past conduct relating to the Recalled

Devices. However, Plaintiffs allege that the harm from Philips’ past conduct is ongoing and will

potentially continue into the future. Pls. Opp.6 at 28-31. Thus, Defendants’ conduct is suitable for

a declaratory judgment.

       Product Liability Acts. Philips argues that Plaintiffs’ claims under the Product Liability

Acts of seven states must be dismissed because these states require “manifest” physical injury. The

Report correctly found that not all of these states require physical injury and when such an injury

is required, that requirement is satisfied by Plaintiffs’ allegations of subcellular injury.



6
 “Plaintiffs’ Opposition” or “Pls. Opp.” refers to the Opposition to the Motion to Dismiss filed by
Plaintiffs on March 7, 2023 (ECF 1634).

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II.      ARGUMENT

         A.      Defendants’ Overarching Objection with Respect to the Report Is Overstated
                 (Objection I)

         Philips’ first objection to the Report is that it fails to accurately reflect its conclusions. Obj.

3-5. Specifically, the Report incorrectly cites Count IV in the recommendation as a vehicle for

dismissing the Disputed Jurisdictions.7 See R&R at 37-38.

         Plaintiffs plead medical monitoring in the first instance as a remedy for underlying torts,

not as an independent cause of action. See ¶ 386 (“Accordingly, in this Medical Monitoring

Complaint, Plaintiffs and Class members seek as damages the costs of such medical monitoring .

. . .”). In addition, Plaintiffs bring Count IV as an independent medical monitoring claim for the

jurisdictions that have already recognized or would recognize a stand-alone cause of action for

medical monitoring.8 Importantly, Philips concedes that six of the 11 jurisdictions pled under

Count IV do allow for medical monitoring as an independent cause of action (although they dispute

the medical monitoring claims in some of those states on other grounds). See Br. at 32. To the

extent that the Report calls for the dismissal of Count IV or suggests that more than the laws of 11

jurisdictions should be addressed as part of the resolution of Count IV, Plaintiffs and Defendants

agree that this recommendation is mistaken. See Obj. at 4 (“Count IV asserts an independent cause

of action for medical monitoring on behalf of Plaintiffs in just those eleven states that recognize

such a cause of action. Nine of those states are not even among the [Disputed Jurisdictions], which

strongly suggests the Special Master did not intend to so limit his recommendation.”).




7
 Philips also calls for dismissal of Plaintiffs’ request for appointment of a science panel which was
agreed to by Plaintiffs (Opp. at 28). Obj. at 5. Plaintiffs do not contest this portion of the Objection.
8
    See Supra, note 2.

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          But that is where the parties’ agreement ends. Plaintiffs do not agree with Philips’ assertion

that “[t]he Special Master’s conclusion necessarily compels dismissal of all of Plaintiffs claims

under the laws of the states for which the Special Master correctly found that alleging present

physical injury is required.” Obj. at 4. The full scope of findings in the Report reveals several

inconsistencies. As noted in Plaintiffs’ Objections, the overlap of states and arguments causes

confusion because states differ as to whether there is an independent cause of action for medical

monitoring; whether there is a physical injury requirement; and whether allegations of subcellular

injury satisfy such a “physical injury” requirement. See, e.g., Pls. Obj. at 4-5.

          To be clear, the Special Master found that Plaintiffs properly alleged three important facts:

(1) the requisite exposure, R&R at 13-22; (2) that diagnostic examinations will make early

detection possible and are reasonably necessary, id. at 23-25; and (3) they have sustained

subcellular injury, id. at 10-13, 27-35. Despite these findings, the Special Master ignored pecuniary

injury as a basis for medical monitoring relief even though Plaintiffs would have to pay for these

diagnostic tests.9 Id. at 4-9. Instead, the Report applied a per se rule that if the highest court in a

jurisdiction had not spoken definitively on the topic, it would default to the most restrictive rule

which, in this case, meant requiring a plaintiff to plead physical injury. Id. at 6-9. Having taken

that step, the Report fails to consider whether Plaintiffs’ allegations of subcellular injury, which

were found plausible, satisfy the physical injury requirement.

          Plaintiffs also disagree with Philips’ assertion that “[t]he Special Master correctly applied

an Erie analysis” in analyzing the Disputed Jurisdictions. Obj. at 3. The entire premise of adopting

a per se rule to find that states require a plaintiff to plead a present physical injury to state claim

for medical monitoring runs counter to a proper Erie analysis that is supposed to be an unbiased


9
    See, e.g., Pls. Opp. at 9-15.

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prediction of what a state’s highest court would rule. As it has done since its initial Brief, Philips

distorts Third Circuit precedent to argue that this Court is always required to adopt the

interpretation of state law against liability when a state’s highest court has not opined on a given

issue, even if relevant state authorities contradict that interpretation. Obj. at 2, 6-9. This argument

misstates the principle elucidated in Travelers Indem. Co. v. Dammann & Co., which found that

courts should refrain from finding liability only when relevant state authority is hopelessly

muddled or equally split. 594 F.3d 238, 253 (3d Cir. 2010) (“where ‘two competing yet sensible

interpretations’ of state law exist.”) (emphasis added).

       A “competing interpretation” of a state’s law is not “sensible” when it is contradicted by

the weight of authority in that state. When “attempting to forecast state law,” Erie requires the

court to “consider relevant state precedents, analogous decisions, considered dicta, scholarly

works, and any other reliable data tending convincingly to show how the highest court in the state

would decide the issue at hand.” McKenna v. Ortho Pharm. Corp., 622 F.2d 657, 663 (3d Cir.

1980).10 “[R]elevant state precedents must be scrutinized with an eye toward the broad policies

that informed those adjudications, and to the doctrinal trends which they evince” Id. at 662. If

relevant state authorities support an interpretation of state law that entails liability, and the

competing interpretation has less support, then Erie requires this Court to adopt the interpretation

that provides liability. See, e.g., Yurecka v. Zappala, 472 F.3d 59 (3d Cir. 2006) (reversing grant of

summary judgment for defendants based on an interpretation of the Pennsylvania rescue doctrine



10
   See also City of Phila. v. Lead Indus. Ass’n, Inc., 994 F.2d 112, 123 (3d Cir.1993) (“An
authoritative signal that a state’s highest court would modify existing state law may be gleaned
from lower state court decisions, the decisions of other courts, and treatises or other scholarly
works. . . . Although not dispositive, decisions of state intermediate appellate courts should be
accorded significant weight in the absence of an indication that the highest state court would rule
otherwise.”) (citations omitted).

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that expanded liability); New Castle Cty. v. Nat’l Union Fire Ins. Co., 174 F.3d 338 (3d Cir. 1999)

(adopting an interpretation of Delaware that expanded liability).

        The jurisdictions that have not yet ruled on an independent medical monitoring cause of

action, including the 27 Disputed Jurisdictions, recognize or would recognize the availability of

medical monitoring damages as a remedy for another tort cause of action such as negligence.

Allowing medical monitoring as a remedy for an underlying tort does not require this Court to find

that the state at issue would recognize a new independent tort for medical monitoring, only that

Plaintiffs may recover for the harm caused by Defendants under other, well-established torts. See,

e.g., Sadler v. PacifiCare of Nev., 340 P.3d 1264, 1270 (Nev. 2014) (plaintiff may state a cause of

action for negligence with medical monitoring as the remedy without present physical injury);

Restatement (Second) of Torts § 7 (1965) (“Thus harm, as defined in this Section, is the detriment

or loss to a person which occurs by virtue of, or as a result of, some alteration or change in his

person . . . and also the detriment resulting to him from acts or conditions which impair . . . his

pecuniary advantage . . . .”); In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig. (“In re

Valsartan”), 2021 WL 364663, at *24 (D.N.J. Feb. 3, 2021) (discussing states that do not recognize

an independent cause of action for medical monitoring but nonetheless allow a plaintiff to recover

damages for medical monitoring as a remedy for other torts).

        Philips also calls for the dismissal of claims alleged under the laws of Alabama, Alaska,

Kentucky, Louisiana, Michigan, Mississippi, North Dakota, South Dakota, Wisconsin, and

Wyoming. Obj. at 5. However, Plaintiffs seek medical monitoring as a remedy under Pennsylvania

law in all jurisdictions, including these 10 states. Because the issue of whether Pennsylvania law

applies extraterritorially and to these Plaintiffs’ claims, it is premature to dismiss these states.




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       Exhibit A to Plaintiffs’ Objections is a chart outlining Plaintiffs’ position with respect to

each of the Disputed Jurisdictions. See ECF 2314-1. To further assist the Court, Plaintiffs attach

as Exhibit A to this Response, a chart with the status of the medical monitoring claims asserted in

each jurisdiction at issue here along with Plaintiffs’ position.

       B.      It Is Premature to Address Overlapping Claims (Objection II)

       Philips objects that the R&R fails to recommend dismissal of claims that overlap with

claims asserted in the Master Personal Injury Complaint where dismissal was recommended in the

Master PI R&R. Obj. at 5-6. However, Plaintiffs have objected to or sought clarification about

several of the recommendations in the Master PI R&R that would have direct implications on the

“overlapping” claims. Pls. PI Obj. at 3-9; Pls. Mot. to Modify. In addition, Plaintiffs have requested

leave to amend in limited circumstance. See Pls. PI Obj. at 6-10, 13; Pls. Mot. to Modify.

Ultimately, dismissal of substantive causes of action in the Master Personal Injury Complaint

should be consistently applied to the truly overlapping claims in the Medical Monitoring

Complaint, but the time for such determinations has not yet arrived.11

       C.      The Report Correctly Found That Physical Injury Is Not Required to State a
               Claim for Medical Monitoring Under Tennessee Law (Objection III)

       The Special Master correctly found that medical monitoring under Tennessee law should

survive dismissal on the pleadings. R&R at 9 n.11. Philips’ argument amounts to little more than

a command to not evaluate and predict Tennessee law but instead to fall back on a per se rule that




11
   Not all arguments are truly overlapping in the two complaints. For example, in the Master PI
R&R, the Special Master recommended that the claims of certain states were subsumed in those
states’ product liability acts. Master PI R&R at 28-36. Notwithstanding other objections made by
Plaintiffs to that recommendation, Plaintiffs sought leave to amend to add a count specifically
delineating claims under each state’s product liability act to resolve the issue. Pls. PI Obj. at 9-10;
Pls. Mot. to Modify. This issue does not exist here where the Complaint does have a separate count
for states’ Product Liability Acts. See Complaint, Count XIV.

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denies liability. Obj. at 6-7.

        The Report correctly relies on the well-reasoned Sixth Circuit opinion in Sutton to predict

Tennessee law. R&R at 9 n.11; see also Sutton, 419 F.3d at 570-75. Philips attempts to cast aside

Sutton because of the posture in which the case was decided—injury-in-fact for Article III

standing—even though the court was considering injury in a case involving directly analogous

facts. The court framed the standing question as whether the class representatives “allege[d] an

individual, personal injury,” and held that the increased risk of disease requiring current medical

monitoring constitutes a concrete present injury sufficient to confer standing. Id. Although the

court did not directly rule on medical monitoring recovery under Tennessee law, it opined that

Tennessee would recognize medical monitoring based solely on increased risk:

        . . . although Tennessee law is murky on the issue of whether claims for medical
        monitoring are cognizable, there are reasons why such claims are most probably
        proper. First, we note that two Tennessee cases at least suggest that the state
        recognizes medical monitoring claims. See Laxton v. Orkin Exterminating Co., Inc.,
        639 S.W.2d 431 (Tenn. 1982) (allowing recovery for medical expenses and mental
        anguish in the absence of physical injury where defendant negligently contaminated
        plaintiffs’ household supply with toxic chemicals, and stating that “[t]here is no
        question as to the reasonableness of the medical expenses . . . . Even though the
        tests proved negative, in our opinion a jury could find sufficient ‘injury’ to these
        plaintiffs to justify a recovery for their natural concern and anxiety for the welfare
        of themselves and their infant children.”); Newsom v. Markus, 588 S.W.2d 883, 887
        (Tenn. Ct. App. 1979) (holding that “a party is entitled to recover reasonable
        medical expenses for examinations, etc., in an effort to determine if personal
        injuries were sustainable as a result of defendants [sic] negligence, even though it
        develops that the party suffered no personal injury.”).

Id. at 575, n.7 (emphasis added).

        Sutton and the cases it cites illustrate why the Special Master got it right. In Laxton, the

Tennessee Supreme Court upheld the recovery of out-of-pocket medical expenses in the absence

of physical injury where plaintiffs ingested household water contaminated by dangerous

chemicals. 639 S.W.2d at 432-34. Laxton was reaffirmed in Carroll v. Sisters of St. Francis Health

Servs., Inc. where the court explained that in Laxton it was “able to discount the fact that the
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plaintiffs had not suffered a classic physical injury, and to substitute as the required objective

component of the prima facie case the plaintiffs’ direct exposure to the carcinogenic chemical.”

868 S.W.2d 585, 594 (Tenn. 1993) (citing additional cases); see also Camper v. Minor, 915 S.W.2d

437, 446 (Tenn. 1996) (eliminating manifest injury requirement for emotional distress). These

decisions from the Tennessee Supreme Court, along with Sutton and Newsom, provide a substantial

basis from which this Court should predict that Tennessee would recognize the recovery of medical

monitoring damages without the need to show physical injury and certainly with allegations of

subcellular injury.

       Defendants’ cases are inapposite. See Obj. at 7 (citing Potts v. Celotex Corp., 796 S.W.2d

678 (Tenn. 1990) and Rye v. Women’s Care Ctr. of Memphis, MPLLC, 477 S.W.3d 235 (Tenn. 2015)).

As a preliminary matter, neither is a medical monitoring case. Potts was a statute of limitations

decision analyzing the discovery rule for asbestos mesothelioma cases. See Potts, 796 S.W.2d at

680-81. And, in Rye, the plaintiff did not allege she was exposed to toxic chemicals that required

her to incur costs to monitor whether she developed a disease but instead alleged that because of

her doctor’s negligence, she might be required to incur additional medical expenses at some

unknown point in the future. See, e.g., Rye, 477 S.W.3d at 238-39 (ruling on summary judgment that

evidence of the need for future medical expenses was too speculative).

       The Special Master’s finding is consistent with those of several federal courts that have

recently relied upon Sutton to deny a motion to dismiss claims seeking medical monitoring under

Tennessee law. See In re JUUL Labs, Inc. Mktg. Sales Prac. & Prod. Liab. Litig., 2021 WL

3112460, at *16 (N.D. Cal. July 22, 2021) (“The parties dispute and cite contrary authority under

Tennessee law; absent definitive authority, the claim is not dismissed at this juncture.”); In re

Valsartan, 2021 WL 364663, at *24 (grouping Tennessee among states that “may not recognize



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independent claims for medical monitoring, they may, however, allow a plaintiff under certain

circumstances to recover damages for medical monitoring premised on another claim). The Report

correctly assessed Tennessee law.

       D.      Plaintiffs’ Declaratory Judgment Claim Is Appropriate (Objection IV)

       Philips objects to the Special Master’s finding that Plaintiffs’ Declaratory Judgment Act

claim should not be dismissed taking exception to the Report’s use of the phrase “academic.” Obj.

at 7-8. Semantics aside, the Special Master’s determination is correct because Plaintiffs allege that

the harm from Defendants’ past conduct is ongoing and will continue, rendering the conduct

suitable for a declaratory judgment. See, e.g., ¶¶ 367-86.

       Philips mainly argues that Plaintiffs’ claim should be dismissed because Plaintiffs seek to

recover for past conduct relating to the Recalled Devices, conduct which cannot be adjudicated via

a declaratory judgment claim. Def. Obj. at 7-8. But, defendants bear the “heavy burden of proving

that there is no reasonable expectation that the past conduct will be repeated.” Allen v. Colautti,

417 A.2d 1303, 1306 (Pa. Commw. Ct. 1980) (citing United States v. W.T. Grant Co., 345 U.S.

629, 633 (1953)). Pennsylvania courts have consistently held that declaratory actions will not be

dismissed where they concern questions of a recurring nature, capable of avoiding review, and of

important public interest. Temple University of the Commonwealth System of Higher Education v.

Department of Public Welfare, 374 A.2d 991, 995 (Pa. Commw. Ct. 1977). Nor will a case be

dismissed as moot merely because alleged illegal conduct has been stopped. W. T. Grant Co., 345

U.S. at 632.

       As noted, Philips objects to the word “academic,” which it argues relates to “mootness.”

Def. Obj. at 7-8. However, the Third Circuit has found that “[v]oluntary cessation” of misconduct

(such as Philips’ decision to cease using PE-PUR foam) “will moot a case only if it is ‘absolutely

clear that the allegedly wrongful behavior could not reasonably be expected to recur.’” Fields v.
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Speaker of Pa. House of Representatives, 936 F.3d 142, 161 (3d Cir. 2019) (quoting Parents

Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007)). Here, Defendants

have failed to show that there is “no reasonable likelihood that a declaratory judgment would affect

the parties’ future conduct.” See, e.g., Rhodes v. Stewart, 488 U.S. 1, 4 (1988) (per curiam); United

States v. Gov’t of the V.I., 363 F.3d 276, 285 (3d Cir. 2004).

       E.      The Special Master Properly Recommended Upholding Plaintiffs’ Claims
               Under the Product Liability Acts of Several States (Objection V)

       Philips contends that the Special Master erred when he found that Plaintiffs’ claims under

the product liability acts of New Jersey, Connecticut, Indiana, Kansas, Ohio, Tennessee, and

Washington should not be dismissed. Obj. at 8-9. Philips argues that these claims must be

dismissed because Plaintiffs have failed to allege a “‘manifest’ physical injury,” id., but the Special

Master properly found either that no such requirement exists under these statutes or to the extent

that it does, Plaintiffs’ allegations of subcellular injury satisfy the requirement, R&R at 27-35. See

also In re Valsartan, 2021 WL 12142025, at *12 (D.N.J. Oct. 7, 2021) (rejecting an identical

argument that plaintiffs’ allegations of subcellular injury were insufficient to support product

liability act claims for medical monitoring because the “broad definitions of harm [in the product

liability acts] do not exclude cellular or even subcellular injury, and it would not be prudent to bar

medical monitoring claims at this juncture of the case in the absence of definitive controlling

authority from a particular state”). The Special Master’s determination is consistent with the

analysis that should have happened elsewhere in the Report—when physical injury is required, the

question is whether subcellular injury as alleged here satisfies that requirement. With respect to

the product liability acts at issue, the Special Master appropriately determined that it did

(elsewhere, the Report ignores the allegations of subcellular injury and performs no such analysis).




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       Philips’ focus on the New Jersey Product Liability Act (“NJPLA”) illustrates the flaw in

its position. The Special Master properly found that Plaintiffs sufficiently allege injury under the

NJPLA. R&R at 32. Philips overreads Sinclair v. Merck & Co., in an effort to make its point. 948

A.2d 587 (N.J. 2008). As explained in Plaintiffs’ Opposition, Sinclair did not find that subcellular

injury is insufficient to satisfy any physical injury requirement that is contained in the NJPLA. Pls.

Opp. at 31-32; see Brown v. Abbott Labs., Inc., 2011 WL 4496154, at *3 (N.D. Ill. Sep. 27, 2011)

(“[Sinclair] did not ... impose some minimum threshold of physical injury or illness below which

damages are unavailable. The court merely held that the plaintiff must suffer an actual physical

injury or illness.”). Sinclair considered whether plaintiffs alleging only increased risk of future

injury “may seek to recover the costs of medical monitoring without an allegation of physical

injury.” Sinclair, 948 A.2d at 591 (emphasis added). The court concluded that the NJPLA requires

physical injury and affirmed dismissal of plaintiffs’ NJPLA claim. Id. at 595 (“[I]t is not disputed

that plaintiffs do not allege a personal physical injury.”). Thus, while Sinclair did find that physical

injury is required, it does not address whether subcellular injury satisfies that requirement.

       New Jersey case law makes clear that the New Jersey Supreme court recognizes subcellular

injury as sufficient to satisfy a physical injury requirement and therefore, sufficient to sustain a

claim under the NJPLA. See, e.g., Ayers v. Jackson, 525 A.2d 287 (N.J. 1987) (upholding a remedy

of medical monitoring based in part on allegations of subcellular injury).12 Here, as the Special

Master correctly recognized, Plaintiffs have alleged “physical injury” for the purposes of the


12
   Sinclair makes clear that Ayers “remains the law in New Jersey.” Sullivan v. Saint-Gobain
Performance Plastics Corp., 431 F. Supp. 3d 448, 464 (D. Vt. 2019) (citing Sinclair, 948 A.2d at
591; citing Ayers, 525 A.2d at 311). In Ayers, the Supreme Court of New Jersey held that the cost
of medical monitoring was a compensable item of damages when the need for such monitoring
resulting from exposure to toxic chemicals and noted that plaintiffs’ expert had testified that
“exposure to chemicals had already caused actual physical injury to plaintiffs through its adverse
effects on the genetic material within their cells.” Ayers, 525 A.2d at 303 (emphasis added).

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NJPLA in the form of subcellular injury. This interpretation of New Jersey law reflects the thrust

of relevant decisions. See In re Valsartan, 2023 WL 1818922 (D.N.J. Feb. 8, 2023) (certifying a

medical monitoring class including New Jersey plaintiffs seeking monitoring as a remedy to their

NJPLA claims on subcellular injury allegations).

        As the Special Master explains in the Report, neither the statutory text of the product

liability acts13 nor applicable state caselaw supports Defendants’ claim that Plaintiffs’ alleged

subcellular injury does not satisfy applicable injury requirements. R&R at 27-35. As explained

above in Section II.A, supra, Philips’ argument proceeds from a faulty premise: that in the absence

of authority from a state’s highest court, the product liability acts must be interpreted to most

severely limit Defendants’ liability. On the contrary, ample authority supports the conclusion that

the highest courts in these states would find that Plaintiffs’ allegations of subcellular injury would

satisfy applicable statutory requirements. Pls. Opp. at 32-38.

III.    CONCLUSION

        Based upon the foregoing and the reasons set forth in Plaintiffs’ Objections, the Court

should overrule Philips’ Objections and deny Defendants’ Motion to Dismiss.




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   See, e.g., Wash. Rev. Code. § 7.72.010 (2008) (“‘Harm’ includes any damages recognized by
the courts of this state . . . .”); Conn. Gen. Stat. § 52-572m(d) (2008) (“‘Harm’ includes . . . personal
injuries . . . .”); Ind. Code § 34-20-1-1 (2008) (product liability act applies to actions “for physical
harm caused by a product”); Kan. Stat. Ann. § 60-3302 (2006) (“‘Harm’ includes: . . . personal
physical injuries, illness or death.”); Ohio Rev. Code Ann. 2307.71(A)(7) (2008) (“‘Harm’ means
death, physical injury to person, serious emotional distress, or physical damage to property . . .
.”); Tenn. Code Ann. § 29-28-102(6) (2008) (“‘Product liability action’ . . . includes all actions . .
. on account of personal injury, death or property damage”).

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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on November 30, 2023, and is available for download by all counsel of

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